        Case 3:08-cv-00441-TLM Document 185 Filed 08/17/10 Page 1 of 25



                       UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT


DONGGUK UNIVERSITY                  :
                                    :
V.                                  :       CIV. NO.   3:08CV441(TLM)
                                    :
YALE UNIVERSITY                     :
                                    :

  RULING ON PLAINTIFF’S MOTION FOR PROTECTIVE ORDER [DOC. #167]

     Defendant served a Notice of Deposition of Dongguk Pursuant

to Rule 30(b)(6) of the Federal Rules of Civil Procedure (the

“30(b)(6) Notice”) on May 28, 2010.            Dongguk moved for a

protective order quashing portions of Yale’s 30(b)(6) notice.

[Doc. # 167].      Yale has objected to plaintiff’s Motion. [Doc. #

173].

Background

     This action concerns Dongguk’s hiring and two-year

employment of an art history professor named Jeong Ah Shin, who

claimed to have earned a Ph.D. at Yale.            (Compl. ¶¶ 43-57, 66).

Dongguk alleges that, after it hired Shin in 2005 as a “special

hiring candidate,” it wrote to Yale to verify her Ph.D., and Yale

improperly confirmed that Shin had received a Ph.D. from Yale.

(Id. ¶¶ 44, 58-65).       Dongguk further alleges that, when Shin

attracted attention from the Korean media in 2007, Yale wrongly

told the media that it had not verified her Ph.D. two years

earlier.     (Id. ¶¶ 89-97).     Dongguk alleges that Yale’s statements

to the Korean media “[d]estroyed” Dongguk’s reputation, “publicly


                                        1
        Case 3:08-cv-00441-TLM Document 185 Filed 08/17/10 Page 2 of 25



humiliated and deeply shamed” Dongguk, and caused it $50 million

in damages.     (Id. ¶¶ 179, 190, 196, 204).

     On May 28, 2010, Yale served the 30(b)(6) Notice,

identifying thirty topics.        In a responding letter to Yale dated

June 8, 2010, Dongguk divided the topics into four distinct

categories, objecting to 18 of the 30: “(i) subject matters to

which Dongguk has no objections and will provide a witness; (ii)

subject matters to which Dongguk has objections, but will

nonetheless will [sic] provide a witness; (iii) subject matters

that are unreasonably cumulative and duplicative to which Dongguk

will not provide a witness; and (iv) subject matters that are not

the proper subject of a Rule 30(b)(6) deposition and Dongguk will

not provide a witness.”       Yale replied by letter dated June 15,

2010.    On June 28, 2010, Dongguk filed a motion for a protective

order to quash portions of Yale’s 30(b)(6) Notice.

     Plaintiff argues that Yale is seeking to take 30(b)(6)

depositions on thirty overly broad topics, nine of which are

“virtually identical to written discovery already provided by

Dongguk and are thus unreasonably cumulative or duplicative” and

three of which are “topics impermissibly seek[ing] information

protected by attorney-client privilege or work product doctrine.”

[Doc. # 167 at 3].      Accordingly, Dongguk seeks a protective order

quashing those 12 topics of Yale’s 30(b)(6) Notice.

     Defendants respond that “the Rule 30(b)(6) categories that



                                       2
     Case 3:08-cv-00441-TLM Document 185 Filed 08/17/10 Page 3 of 25



Dongguk seeks to quash concern matters at the heart of the merits

of [the] case . . . for the sole reason that Dongguk has

responded to interrogatories and requests for production

concerning those topics.”     [Doc. #173 at 1].



                              DISCUSSION

I.   Standard of Review

     A.    Scope of Discovery

     Like other forms of discovery, a Rule 30(b)(6) Notice is

subject to limitations under Rule 26 of the Federal Rules of

Civil Procedure.   As a general proposition, whether something is

discoverable under Rule 26 of the Federal Rules of Civil

Procedure is determined under a broader standard than that used

to determine admissibility at trial.       FDIC v. Wachovia Insur.

Servs., 2007 U.S. Dist. LEXIS 62538, *9 (D. Conn. Aug. 27, 2007).

Relevant information need not be admissible at the trial if the

discovery appears reasonably calculated to lead to the discovery

of admissible evidence.    Fed. R. Civ. P. 26(b)(1).       Thus courts

normally allow discovery “to encompass any matter that bears on,

or that reasonably could lead to other matters that could bear

on, any issue that is or may be in the case.”        Daval Steel

Products v. M/V Fakredine, 951 F.2d 1357, 1367 (2d Cir. 1991)

(quoting Oppenheimer Fund Inc. v. Sanders, 437 U.S. 340, 351

(1978)).



                                    3
     Case 3:08-cv-00441-TLM Document 185 Filed 08/17/10 Page 4 of 25



     But there are limits to discovery and the ways in which

parties may use particular discovery tools.        In particular, “Rule

26 vests the trial judge with broad discretion to tailor

discovery narrowly and to dictate the sequence of discovery.”

Crawford-El v. Britton, 523 U.S. 574, 598 (1998).         Rule 26(b)(1)

defines the scope of discovery as reaching all information that

is relevant but not privileged.         For discovery purposes, courts

define relevance broadly, regarding information as relevant if it

“bears on” or might reasonably lead to information that ”bears

on” any material fact or issue in the action.        See Openheimer

Fund, 437 U.S. at 351; see also El Badrawi v. Dept. of Homeland

Sec., 258 F.R.D. 198, 201-02 (D. Conn. 2009).        Generally, courts

have been reluctant to define discovery relevance in the

abstract, instead tending to ground their decisions on the

particular facts of the case.

          1.    Limits Based on Proportionality

     Rule 26(b)(2)(C) instructs courts to limit discovery to the

extent that “the burden or expense of the proposed discovery

outweighs its likely benefit.”     Fed. R. Civ. P. 26(b)(2)(C)(iii).

This proportionality consideration was added in 1983 specifically

to address the perceived problem of over-discovery.         Fed. R. Civ.

P. 26 Advisory Committee’s Note (1983).        Both the Supreme Court

and the Federal Rules of Civil Procedure Advisory Committee have

emphasized the importance of the 26(b)(2)(C) proportionality


                                    4
     Case 3:08-cv-00441-TLM Document 185 Filed 08/17/10 Page 5 of 25



limit on fair and efficient operation of discovery rules.          See

Crawford-El, 523 U.S. at 598-99.        Rule 26(b)(2)(C) lists three

factors for the court to consider:

          (i) the discovery sought is unreasonably
          cumulative or duplicative, or is
          obtained from some other source that is
          more convenient, less burdensome, or
          less expensive; (ii) the party seeking
          discovery has had ample opportunity by
          discovery in the action to obtain the
          information sought; or (iii) the burden
          or expense of the proposed discovery
          outweighs its likely benefit, taking
          into account the needs of the case, the
          amount in controversy, the parties’
          resources, the importance of the issues
          at stake in the litigation, and the
          importance of the proposed discovery in
          resolving the issues.

Fed. R. Civ. P. 26(b)(2)(C).

     However, “it seems that the three provisions of [Rule

26(b)(2)] should not be treated as separate and discrete grounds

to limit discovery so much as indicia of proper use of discovery

mechanisms; they do not call for counsel to undertake complex

analysis.”   8 Charles Alan Wright & Arthur R. Miller, Federal

Practice and Procedure § 2008.1 (3d ed. 2010); see also In re

Cooper Tire & Rubber Co., 568 F.3d 1180, 1194 (10th Cir. 2009).

Instead, the court will consider the specific facts of the case

to make a common sense decision about whether or not the

discovery in question goes too far.

          2.   Protective orders

     Rule 26(c) provides that a court may, for good cause, issue

                                    5
     Case 3:08-cv-00441-TLM Document 185 Filed 08/17/10 Page 6 of 25



an order to protect a party or person from “annoyance,

embarrassment, oppression, or undue burden or expense.”          Fed. R.

Civ. P. 26(c).   With regard to the “undue burden and expense”

provision, Rule 26(c) operates in tandem with the proportionality

limits set forth in Rule 26(b)(2).      The text of Rule 26(c) is

construed liberally to include a wide range of potential harms

not explicitly listed.    See Seattle Times Co. V. Rhinehart, 467

U.S. 20, 36 (1984) (“The unique character of the discovery

process requires that the trial court have substantial latitude

to fashion protective orders.”); see also In re Zyprexa

Injunction, 474 F.Supp.2d 385, 413 (E.D.N.Y. 2007).

     B.   Rule 30(b)(6) Depositions

     Rule 30(b)(6) provides in pertinent part:

          A party may in the party’s notice and in
          a subpoena name as the deponent a public
          or private corporation . . . and
          describe with reasonable particularity
          the matters on which examination is
          requested. In that event, the
          organization so named shall designate
          one or more officers, directors, or
          managing agents, or the persons who
          consent to testify on its behalf, and
          may set forth, for each person
          designated, the matters on which the
          person will testify . . . . The persons
          so designated shall testify as to
          matters known or reasonably available to
          the organization. This subdivision
          (b)(6) does not preclude taking a
          deposition by any other procedure
          authorized in these rules.

Fed. R. Civ. P. 30(b)(6).


                                    6
     Case 3:08-cv-00441-TLM Document 185 Filed 08/17/10 Page 7 of 25



Rule 30(b)(6) is meant to serve several purposes:

          reduc[ing] the difficulties . . . encountered
          in determining, prior to the deposition,
          whether a particular employee or agent is a
          ‘managing agent’. . . . ; curb[ing] the
          ‘bandying’ by which officers or managing
          agents of a corporation are deposed in turn
          but each disclaims knowledge of facts that
          are clearly known to persons in the
          organization . . . . ; [and] assist[ing]
          organizations which find that an
          unnecessarily large number of their agents
          are being deposed by a party uncertain of who
          in the organization has knowledge.

S.E.C. v. Morelli, 143 F.R.D. 42, 44-45 (S.D.N.Y 1992)(quoting

Advisory Committee Notes on Rule 30(b)(6)).

     Rule 30(b)(6) allows an organization to designate an

individual to “testify on its behalf.”       State of New Jersey v.

Sprint Corp., 2010 U.S. Dist. LEXIS 14890, at *9 (D. Kan. Feb.

19, 2010).    The testimony provided by a corporate representative

at a 30(b)(6) deposition binds the corporation.        Id.   A party

should not be prevented from questioning a live corporate witness

in a deposition setting just because the topics proposed are

similar to those contained in documents provided or interrogatory

questions answered.    Id at *9-10.     When information has already

been provided in other forms, a witness may still be useful to

testify as to the interpretation of papers, and “any underlying

factual qualifiers of those documents” (i.e. information which

the defendant knows but is not apparent on the face of the

documents).   Beckner v. Bayer CropScience, L.P., 2006 U.S. Dis.


                                    7
     Case 3:08-cv-00441-TLM Document 185 Filed 08/17/10 Page 8 of 25



LEXIS 44197, *27, 29-30 (D.W.Va. June 28, 2006).        A party may

also have an interest in getting the corporation’s testimony on

an issue, rather than the testimony of an individual.         In such a

case, courts have allowed 30(b)(6) depositions in order to obtain

testimony binding on the corporation even though that testimony

was likely to essentially duplicate information which had already

been stated in an individual deposition.       Sprint, 2010 U.S. Dist.

LEXIS 14890, at *9-11.

     A Rule 30(b)(6) Notice is subject to limitations under Rule

26 which requires that the information sought not be unduly

burdensome or duplicative.     Courts have found Rule 30(b)(6)

notices to be unduly burdensome which merely request the

duplication of other information already obtained through other

discovery methods.   The court in Tri-State also suggested that

since depositions are inherently “time-consuming and

inefficient,” they ought to “be productive and not simply an

excuse to seek information that is already known.”         Tri-State

Hosp. Supply Corp., 226 F.R.D. 118, 126 (D.D.C. 2005).         Where the

notice seeks information which could more easily be obtained from

another source, the court may refuse to allow that topic to be

the subject of a 30(b)(6) deposition.       See Gossar v. Soo Line

R.R. Co., 2009 U.S. Dist. LEXIS 100931, *16-17 (S.D. Ind. Oct 27,

2009).

     A portion of a party’s 30(b)(6) notice may also be stricken


                                    8
      Case 3:08-cv-00441-TLM Document 185 Filed 08/17/10 Page 9 of 25



if it is overbroad.     “The purpose of designating matters for the

30(b)(6) deposition is to give the opposing party notice of the

areas of inquiry that will be pursued so that it can identify

appropriate deponents and ensure they are prepared for the

deposition.”    Tri-State Hosp. Supply Corp., 226 F.R.D. at 125.

Additionally, the language “including but not limited to” is

overbroad when identifying a 30(b)(6) topic and defeats the

purpose of giving notice of the topics to be discussed in the

deposition.    Id.

      The burden of proof lies with the party opposing discovery

to show good cause to deny the discovery sought.         Chamberlain v.

Farmington Sav. Bank, 247 F.R.D. 288, 290 (D.Conn. 2007).           The

party opposing the discovery sought must support its position

with a “particular and specific demonstration of fact.”           Gulf Oil

Co. v. Bernard, 452 U.S. 89, 102 (1981).        It is not enough for

the party to merely make conclusory statements.         Id.


II.   Scope and Limits of Topics 3, 4, 5, 6 , 7, 11, 19, 23 and 24

      of the Rule 30(b)(6) Deposition Notice

      A.   Topic 5

      Topic 5 requests testimony concerning:

           Dongguk’s 2007 investigation concerning Jeong
           Ah Shin, including but not limited to the
           scope of the investigation, each person
           involved in the investigation and their role
           in the investigation, the dates the
           investigation started and ended, all actions
           taken in connection with the investigation,

                                     9
     Case 3:08-cv-00441-TLM Document 185 Filed 08/17/10 Page 10 of 25



          all people interviewed in connection with the
          investigation, all documents generated in
          connection with the investigation, and all
          results of the investigation.


     At the July 15, 2010 discovery conference, Dongguk agreed to

provide a 30(b)(6) witness concerning the formation of the

investigation and why certain information was not covered in the

investigation.   However, Dongguk argues that asking a 30(b)(6)

witness about what actually occurred during the investigation is

unreasonably cumulative and duplicative of prior discovery

requested by Yale.    At the discovery conference, Yale assured

Dongguk that Yale would only question a 30(b)(6) witness about

the details of the investigation as a point of departure to ask

questions about why certain information was not covered in the

investigation.

     Thus, it appears both parties agree about the outer limits

of Topic 5 and Yale is permitted to inquire of the designated

witness as to the formation of the investigation and why certain

information was not covered in the investigation.

     B.   Topic 6

     Topic 6 requests testimony concerning:

          Dongguk’s communications with Yale concerning
          Jeong Ah Shin, including but not limited to
          the dates of all such communications, all
          people in those communications, and the
          reasons for each communication by Dongguk to
          Yale.



                                    10
       Case 3:08-cv-00441-TLM Document 185 Filed 08/17/10 Page 11 of 25



       Dongguk objects to Topic 6 as unreasonably cumulative and

duplicative of prior discovery requested by Yale.           [Doc. # 167 at

18].    Dongguk has produced all of its communications with Yale

concerning Jeong Ah Shin.       These documents include “the dates of

all such communications, all people involved in those

communications, and the reasons for each communication by Dongguk

to Yale.”    Dongguk maintains that its communications with Yale

were entirely document-based and that each document contains an

explanation of the purpose of the communication.           In addition,

Yale has already noticed the depositions of Hyung-Taik Ahn,

Euiuon Cho, and President Youngkyo Oh in their individual

capacities.     Dongguk asserts Mr. Ahn, Mr. Cho, and President Oh

are the only Dongguk employees who had communications with Yale.

Thus, the documents already produced taken in conjunction with

the three planned individual depositions should give ample

opportunity to obtain the information sought.          Fed. R. Civ. P.

26(b)(2)(C)(ii).

       Plaintiff's motion to quash Topic 6 is granted on the

current record. If after the depositions of Mr. Ahn, Mr. Cho, and

President Oh, Yale still believes it is necessary to conduct a

30(b)(6) deposition concerning this topic, Yale may renew its

30(b)(6) Notice on Topic 6 by way of letter to Plaintiff and the

Court, with an explanation of why discovery already taken is

inadequate.


                                      11
       Case 3:08-cv-00441-TLM Document 185 Filed 08/17/10 Page 12 of 25



       C.   Topic 7

       Topic 7 requests testimony concerning:

            Any communications between or among
            Dongguk and the media concerning Jeong
            Ah Shin, Yang Kyun Byeon or Yale,
            including but not limited to any Dongguk
            press conferences, press releases, or
            public statements concerning Jeong Ah
            Shing, Yang Kyun Byeon or Yale between
            2005 and the present.


       Dongguk objects to Topic 7 as unreasonably cumulative and

duplicative of prior discovery requested by Yale.           [Doc # 167 at

19].    In response to Requests for Production Nos. 27 and 31,

Dongguk has produced all communications between or among Dongguk

and the media concerning Shin, Yang Kyun Byeon or Yale, and all

press releases and articles concerning those subjects.            Thus,

information sought in Topic 7 is unreasonably cumulative or

duplicative and has already been obtained from some other source

that is more convenient and less burdensome.          Fed. R. Civ. P.

26(b)(2)(C)(i).

       Plaintiff's motion to quash Topic 7 is granted on the

current record.     If after depositions of Mr. Ahn, Mr. Cho, and

President Oh, Yale still believes it necessary to conduct a

30(b)(6) deposition concerning this topic, Yale may renew its

30(b)(6) Notice on Topic 7 by way of letter to Plaintiff and the

Court, with an explanation of why discovery already taken is

inadequate.


                                      12
     Case 3:08-cv-00441-TLM Document 185 Filed 08/17/10 Page 13 of 25



     C.   Topic 11

     Topic 11 requests testimony concerning:

          Media coverage of Dongguk between 2005 and
          the present and the effect of any such media
          coverage on Dongguk’s reputation, including
          but not limited to media coverage on the
          following subjects: the hiring or employment
          of Jeong Ah Shin; Dongguk’s failure to follow
          its protocols or procedures with respect to
          the hiring and employment of Jeong Ah Shin;
          the criminal investigation of Dongguk; the
          criminal investigation, indictment, and
          conviction of Jeong Ah Shin, Yang Kyun Byeon,
          and Yong Taek Lim; Jeong Ah Shin’s
          relationship with Yang Kyun Byeon; Yang Kyun
          Byeon’s influence on Dongguk’s hiring and
          employment of Jeong Ah Shin; Dongguk’s
          failure to verify Jeong Ah Shin’s credentials
          before hiring her; Dongguk’s failure to
          contact the University of Kansas concerning
          Jeong Ah Shin; Dongguk’s investigation
          concerning Jeong Ah Shing; Dongguk faculty
          members’ or other employees’ objections to
          hiring Jeong Ah Shin; Dongguk’s receipt of
          government funding after hiring Jeong Ah
          Shin; the removal of Jang Yoon from the
          Dongguk University Foundation Board of
          Directors; the receipt of government funding
          by temples associated with members of the
          Dongguk University Foundation Board of
          Directors; lawsuits or criminal
          investigations concerning corruption in
          Dongguk’s real estate purchases, hospitals,
          and staff hiring or embezzlement of Dongguk’s
          government grants; Professor Jeong-Koo Kang’s
          2005 remarks concerning North Korea; any
          indication or suggestion that Dongguk was
          immoral, dishonest, or incompetent; and any
          statements attributed to Yale or any agent or
          employee of Yale.


     During the July 15, 2010 discovery conference, Donnguk

agreed that the witness designated to answer questions concerning


                                    13
     Case 3:08-cv-00441-TLM Document 185 Filed 08/17/10 Page 14 of 25



Topic 30 would also be prepared to talk about anything that
                                                                 1
affected Dongguk’s reputation, including media coverage.

     Thus, both parties agree that Topic 30, for which Dongguk

has already agreed to provide a 30(b)(6) witness, includes the

items listed in Topic 11 which would be relevant to Dongguk's

claimed damages.

     D.   Topic 19

     Topic 19 requests testimony concerning:

          Any statements by Dongguk University
          professors Association or any Dongguk agent,
          employee, or alumni demanding the
          resignations of Dongguk officials or members
          of the Dongguk University Foundation Board of
          Directors between 2007 and the present.

     Dongguk objects to Topic 19 as is unreasonably cumulative

and duplicative of Yale’s Request for Production No. 95.             [Doc.

#167 at 22].   In response to Request for Production No. 95,

Dongguk produced all statements by the Dongguk University

Professors Association of which Dongguk is aware.         At the July

15, 2010 discovery conference, Dongguk agreed to provide a

30(b)(6) witness to answer questions concerning what Dongguk did

in response to statements by the Dongguk University Professors

Association.   However, as Dongguk asserts in its memorandum,



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      Topic 30 seeks a witness to testify as to "Dongguk's
reputation between 1906 and the present, including but not
limited to Dongguk's reputation for honesty, competence and
morality, and the causes of any harm to Dongguk's reputation
between 1906 and the present."

                                    14
     Case 3:08-cv-00441-TLM Document 185 Filed 08/17/10 Page 15 of 25



“because Dongguk does not control Dongguk University Professors

Association, aside from the statements themselves, Dongguk has no

knowledge concerning the statements or the preparation behind

[sic] the statements.” [Doc. #167 at 22].        There is no 30(b)(6)

witness that could provide information beyond the documents

already provided.

     Plaintiff's motion to quash Topic 19 is granted on the

current record.   If after the deposition concerning what Dongguk

did in response to statements made by the Dongguk University

Professors, Yale has a good faith basis to renew its 30(b)(6)

Notice on Topic 19, it may do so by way of letter to Plaintiff

and the Court.

     E.   Topics 3 and 23

     Topic 23 requests testimony concerning:

          Dongguk’s policies, practices, and procedures
          concerning special hiring candidates, and
          whether Dongguk complied with those policies,
          practices, and procedures with respect to
          Jeong Ah Shin.

     Topic 3 requests testimony concerning:

          The hiring of Jeong Ah Shin, including but
          not limited to the factual bases for the
          allegations contained in paragraphs 43
          through 57 of the Complaint, the decision to
          expand Dongguk’s art history department in
          2005 by creating a new faculty position, the
          art history department’s role in the hiring
          of Jeong Ah Shin, where and when the position
          for which Jeong Ah Shin was hired was posted
          or advertised, the number and identities of
          persons who submitted applications for the
          position for which Jeong Ah Shin was hired

                                    15
       Case 3:08-cv-00441-TLM Document 185 Filed 08/17/10 Page 16 of 25



               and the contents of those applications, the
               role of Yang Kyun Byeon in the hiring of
               Jeong Ah Shin, Ki Sam Hong’s communications
               with Yang Kyun Byeon concerning the hiring of
               Jeong Ah Shin, Ki Sam Hong’s communications
               with Yang Kyun Byeon concerning the hiring of
               Jeong Ah Shin, any recommendations that
               Dongguk received concerning Jeong Ah Shin
               before September 1, 2005, Jeong Ah Shin’s
               application for employment at Dongguk, any
               documents that Dongguk received in connection
               with Jeong Ah Shin’s application, any
               information that Dongguk received before
               September 1, 2005 suggesting that Jeong Ah
               Shin had not earned or might not have earned
               a Ph.D. from Yale or a B.A. or M.B.A. from
               the University of Kansas and the source(s) of
               that information, the date Jeong Ah Shin was
               hired and all reasons that she was hired, any
               opposition and/or concerns expressed to the
               hiring of Jeong Ah Shin, any efforts made by
               Dongguk to verify Jeong Ah Shin’s credentials
               before she was hired, the role of the
               Foundation in the hiring of Jeong Ah Shin,
               the documents sent and/or provided to the
               Foundation in the hiring of Jeong Ah Shin,
               communications between Dongguk and the
               Foundation concerning the hiring of Jeong Ah
               Shin, and any communications between or among
               Dongguk employees or agents concerning the
               hiring of Jeong Ah Shin.


       Dongguk objects to Topic 3 as unreasonably cumulative and

duplicative of prior discovery requested by Yale.2 [Doc. # 167 at

10].       Dongguk objects to Topic 23 as unreasonably cumulative and

duplicative of Yale’s prior Request for Production No. 3.            [Doc.

# 167 at 22].       In response to Requests for Production Nos. 3, 9,



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      The use of the phrase “including but not limited to” within
Topic 3 is overbroad and is accordingly stricken. See Tri-State
Hosp. Supply Corp., 226 F.R.D. at 125.

                                      16
     Case 3:08-cv-00441-TLM Document 185 Filed 08/17/10 Page 17 of 25



25, 68, 70, 71, 72, 73, and 74, Dongguk has already produced

documents concerning Dongguk's policy or procedure regarding the

hiring of persons for faculty, teaching, or research positions,

including . . . “special hiring candidates;” Dongguk’s plan to

increase faculty through special hiring; Dongguk’s recruitment of

Shin; Shin’s application to Dongguk; Dongguk’s hiring of Shin;

Dongguk’s efforts to verify Shin’s purported academic degrees and

other credentials; and Dongguk’s 2007 investigation concerning

Shin’s hiring, including the comprehensive internal investigation

report produced by Dongguk’s Internal Investigation Committee

regarding the investigation.      In addition, Dongguk answered

Interrogatory Nos. 2, 3, 4, 6, 11, and 18, which also targeted

information sought in Topic 3 and 23.

     Through these Interrogatory responses Yale has sufficient

evidence describing Dongguk’s special hiring policies, practices

and procedures.   However, to the extent that questions remain

unanswered by the interrogatories and documents already produced

by Dongguk, Yale is entitled to question a 30(b)(6) witness about

the underlying facts and assumptions of the documents and

investigations.   Specifically, the Court agrees that Yale should

not be limited to those questions Dongguk chose to ask during its

internal investigation.     Although there may not be a witness that

Dongguk can designate as having this corporate knowledge, Yale

may inquire of those appearing in their individual capacity as


                                    17
     Case 3:08-cv-00441-TLM Document 185 Filed 08/17/10 Page 18 of 25



well as those designated as 30(b)(6) witnesses on other topics as

to what extent, if any at all, they know whether the policies,

practices, and procedures concerning special hiring candidates

was followed as to Joen Ah Shin.

     Accordingly, plaintiff's motion to quash Topic 3 and 23 is

granted in part and denied in part.

     F.   Topic 24

     Topic 24 requests testimony concerning:

          Dongguk’s policies, practices, and procedures
          for verifying academic credentials of
          individuals applying for faculty positions in
          2005, whether Dongguk complied with those
          policies, practices, and procedures with
          respect to Jeong Ah Shin, and whether Dongguk
          has changed its policies, practices, and
          procedures for verifying academic credentials
          since 2005, and, if so, the reasons for any
          such change(s).


     Dongguk objects to Topic 24 as unreasonably duplicative of

Request for Production No. 4.      [Doc. # 167 at 24].     In response

to Request for Production No. 4, Dongguk produced the relevant

policies concerning Dongguk’s verification of academic

credentials of individuals applying for faculty positions.              Thus,

Yale already has sufficient evidence describing Dongguk’s

policies, practices, and procedures for verifying academic

credentials of individuals applying for faculty positions in 2005

making this category in a 30(b)(6) deposition unreasonably

cumulative or duplicative.     Fed. R. Civ. P. 26(b)(2)(C)(I).


                                    18
     Case 3:08-cv-00441-TLM Document 185 Filed 08/17/10 Page 19 of 25



     Interrogatory No. 32 asked about “any changes to Dongguk

University’s faculty hiring process or hiring policies since 1998

and all reasons for any such changes.”

     While this 30(b)(6) Topic appears duplicative to the court,

if questions do in fact remain despite the information already

provided in the documents and responses to interrogatories, Yale

is entitled to question a 30(b)(6) witness about Dongguk’s

compliance with its verification policies, practices and

procedures during Shin’s hiring.

     Accordingly, the Court assumes that Yale has a good faith

basis for pursing this topic through a 30(b)(6) witness and

plaintiff's motion to quash Topic 24 is denied on the current

record.

     G.   Topic 4

     Topic 4 requests testimony concerning:

          Dongguk’s employment of Jeong Ah Shin,
          including but not limited to any letters of
          resignation that Jeong Ah Shin tendered to
          Dongguk, any responses by or on behalf of
          Dongguk to any such letters of resignation,
          the location of documents concerning the
          resignation(s) and responses, the grant to
          Jeong Ah Shin of a leave of absence, the
          transfer of Jeong Ah Shin to a different
          department or school, the role of the
          Foundation in the employment status of Jeong
          Ah Shin, documents sent and/or provided to
          the Foundation in connection with the
          employment status of Jeong Ah Shin, the
          dismissal of Jeong Ah Shin, and any
          information that Dongguk received on or after
          September 1, 2005 suggesting that Jeong Ah
          Shin had not earned or might not have earned

                                    19
     Case 3:08-cv-00441-TLM Document 185 Filed 08/17/10 Page 20 of 25



          a Ph.D. from Yale or a B.A. or M.B.A. from
          the University of Kansas.


     Dongguk objects to Topic 4 as unreasonably cumulative and

duplicative of prior discovery requested by Yale.3         [Doc. # 14].

In response to Requests for Production Nos. 18, 19, 20, 21, 22,

and 25, Dongguk produced a copy of Shin’s 2007 resignation letter

and the Internal Investigation Report, as well as documents

concerning Shin’s 2005 leave of absence from Dongguk, Shin’s

departmental transfer, Shin’s teaching responsibilities at

Dongguk, Shin’s 2007 resignation from Dongguk, all discipline

that Dongguk imposed upon Shin, and the termination of Shin’s

employment with Dongguk.     Dongguk has also provided its

investigation report and the documents and interviews on which it

was based.

     Plaintiff's motion to quash Topic 4 is granted on the

current record.   If after depositions of Mr. Ahn, Mr. Cho, and

President Oh, Yale has a good faith basis to pursue Topic 4

through a 30(b)(6) deposition, Yale may renew its 30(b)(6) Notice

on Topic 7 by way of letter to Plaintiff and the Court, with an

explanation of why discovery already taken is inadequate.




     3
      The use of the phrase “including but not limited to” within
Topic 4 is overbroad and is accordingly stricken. See Tri-State
Hosp. Supply Corp., 226 F.R.D. at 125.

                                    20
     Case 3:08-cv-00441-TLM Document 185 Filed 08/17/10 Page 21 of 25



III. The Scope of Discovery for Topics 2, 27, and 28

     A.   Topic 2

     Topic 2 requests information concerning:

          Dongguk’s request for documents concerning
          Jeong Ah Shin from the Foundation, including
          but not limited to which documents were
          requested, when the requests(s) were made,
          who was involved in the communications
          concerning the requests, whether there are
          any documents reflecting the communications
          concerning the requests, which documents were
          provided, whether any requests were refused,
          and the reasons given, if any, for the
          refusal to provide the documents requested.

     Plaintiff’s counsel represented in his brief and at the July

15 discovery conference that he personally requested from the

Foundation “documents concerning Jeong Ah Shin.” [Doc. #167].           He

further represented that he had no reason to believe that the

Foundation withheld requested information.        Accordingly,

knowledge of the Foundation is best sought from the Foundation,

but not from plaintiff, Dongguk University.        Therefore,

defendant’s request for a 30(b)(6) witness from Dongguk

University is inappropriate.

     Since depositions of opposing counsel are disfavored, see

United States v. Yonkers Board of Ed., 946 F.2d 180, 185 (2d Cir.

1991), any additional information regarding the Foundation’s

productions should be sought directly from the Foundation.4


     4
     Plaintiff’s counsel also made clear at the July 15
discovery conference that he has disclosed all of his knowledge
regarding information that the Foundation has produced for him.

                                    21
     Case 3:08-cv-00441-TLM Document 185 Filed 08/17/10 Page 22 of 25



Plaintiff’s counsel agreed to provide opposing counsel with the

name of the person with whom he spoke at the Foundation.          The

Court finds this to be the most appropriate avenue for defendant

to pursue their Topic 2 interests.

     Accordingly, plaintiff's motion to quash Topic 2 is granted.

     B.   Topic 27

     Topic 27 requests information concerning:

          Dongguk’s decision to sue Yale, including but
          not limited to all people involved in that
          decision and all reasons that Dongguk decided
          to sue Yale.

     Plaintiff invokes the attorney-client privilege for

communications made between Dongguk and counsel regarding the

decision to sue.    However, on July 15 defendant clarified its

intentions behind Topic 27; Yale does not want to penetrate the

attorney-client privilege but rather Yale would like to question

a representative of Dongguk based on a Korean magazine article

that discussed why Dongguk decided to sue.        Yale argues that

communications between Dongguk Vice President Jin Soo Han and a

Korean magazine regarding the decision to sue are not privileged.

     Statements made to the Korean media are best examined in the

individual depositions of those who made them.         Yale is entitled

to depose Vice President Han and ask about statements he made to

the media as these statements are clearly not privileged.          When


Thus a deposition of plaintiff’s counsel would likely yield
nothing.

                                    22
     Case 3:08-cv-00441-TLM Document 185 Filed 08/17/10 Page 23 of 25



appropriate, Dongguk may invoke the attorney-privilege at the

individual depositions.     Should a disagreement arise on the

invocation of the attorney-client privilege, the parties are to

contact the Court immediately.

          C.    Topic 28

     Topic 28 requests testimony regarding:

          Any opinion polls or surveys conducted by
          Dongguk concerning public perceptions of
          Dongguk from 2000 to the present, including
          but not limited to the identity of the
          persons who prepared the poll or survey, the
          reason the poll or survey was prepared, and
          the results of the poll or survey.

     Dongguk has made clear that, “No Dongguk representative

participated in the administration of the opinion poll or

drafting of the opinion poll report.”       [Doc. #167].    The person

best equipped to answer questions regarding the poll is the

expert, whom defendants may depose upon completion of fact

discovery.

     Dongguk has agreed to provide a 30(b)(6) witness for Topics

20, 21 and 22 “who will be able to provide the underlying facts

regarding its damage claim.”      [Doc. #167].    Rather than designate

an additional corporate witness for topic 28, defendant may

depose the 30(b)(6) witness on matters pertaining to the effect

of the opinion poll on Dongguk’s damage claim, as well as

Dongguk’s interpretation of the facts and terms used by the

expert in the poll.    The opinion poll itself, the expert


                                    23
     Case 3:08-cv-00441-TLM Document 185 Filed 08/17/10 Page 24 of 25



testimony, and Dongukk’s 30(b)(6) witness for its damage claim

should be sufficient to address the issues in Topic 28.

     Accordingly, plaintiff's motion to quash Topic 28 is

granted.

Defendant's Motion for Fees and Costs

     Defendant moves the Court for fees and costs associated with

defending plaintiff's Motion to Quash.       Defendant argues that,

"If the Court denies Dongguk’s motion for a protective order, it

“must . . . require” Dongguk, its counsel, or both to pay Yale’s

“reasonable expenses incurred in opposing the motion, including

attorney’s fees,” unless Dongguk’s motion was “substantially

justified or other circumstances make an award of expenses

unjust.”   Fed. R. Civ. P. 37(a)(5)(B); see also D.

Conn. L. Civ. R. 37(c).      However, the Court find Dongguk's

position substantially justified and as such DENIES defendant's

Motion for Fees and Costs.



Conclusion

     Accordingly, plaintiff's Motion to Quash [Doc. #167] is

granted in part and denied in part.       For those topics that the

Court has identified as subject to renewal, defendants are to do

so by way of letter to plaintiff and the Court.

     The Court cautions the parties that 30(b)(6) depositions can

be used to test theories, challenge facts and fill in information


                                    24
     Case 3:08-cv-00441-TLM Document 185 Filed 08/17/10 Page 25 of 25



gaps, but they cannot be used to reinvent the wheel by asking

questions that have already been completely answered.

     Counsel are on notice that failure to comply with court

orders may result in sanctions including, but not limited to,

costs and fees, preclusion of evidence or causes of action, and

other appropriate sanctions up to and including dismissal of the

case of entry of default judgment.       Fed. R. Civ. P. 37.     The

Court hopes that counsel can work cooperatively to conduct

discovery efficiently and minimize the expense and inconvenience

to both parties.

     This is not a recommended ruling.       This is a discovery

ruling and order which is reviewable pursuant to the "clearly

erroneous" statutory standard of review.        28 U.S.C. § 636

(b)(1)(A); Fed. R. Civ. P. 6(a), 6(e) and 72(a); and Rule 2 of

the Local Rules for United States Magistrate Judges.          As such, it

is an order of the Court unless reversed or modified by the

district judge upon motion timely made.

     ENTERED at Bridgeport this 17 day of August 2010.

                                  _______/s/__________
                                  HOLLY B. FITZSIMMONS
                                  UNITED STATES MAGISTRATE JUDGE




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